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                        UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                                :
 CHRIS DEMARINIS, individually                  :   Civil Action No.: 3:20-cv-00713-
 and as guardian of D.D.,                       :   RDM
                                                :
                           Plaintiff,           :   Honorable Robert D. Mariani
                                                :
            v.                                  :
                                                :
 ANTHEM INSURANCE                               :
 COMPANIES, INC. d/b/a ANTHEM                   :
 BLUE CROSS AND BLUE                            :
 SHIELD, et al.,                                :
                                                :
                           Defendant.           :

                       PLAINTIFF’S MOTION FOR AN AWARD OF
                           ATTORNEY’S FEES AND COSTS

        Plaintiff Chris DeMarinis, individually and as guardian of D.D. (“Plaintiff”),

by and through his undersigned counsel and, pursuant to this Court’s April 10,

2024 Order and 29 U.S.C. § 1132(g)(1), moves for award of attorney’s fees and

taxable costs to be paid by Defendant Anthem Insurance Companies, Inc. d/b/a

Anthem Blue Cross and Blue Shield (“Anthem”), and states as follows:

        1. On April 30, 2020, Plaintiff filed the above-styled action pursuant to the

                 Employee Retirement Income Security Act (“ERISA”) challenging

                 Anthem’s denial of Plaintiff’s claim for coverage of D.D.’s continued

                 treatment at the Kennedy Krieger Institute (“KKI”) Neurobehavioral Unit

                 (“NBU”) in Baltimore, Maryland, based on the erroneous conclusion that

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            the care provided from May 8, 2019, and beyond was not medically

            necessary.

        2. On April 10, 2024, this Court granted Plaintiff’s Motion for Summary

            Judgment, in part, and ruled that (1) Plaintiff is awarded benefits for the

            period of May 8, 2019 through July 7, 2019, with the amount of the

            payment to be determined upon remand to the Plan Administrator for the

            calculation and payment of benefits and (2) a determination of the

            appropriate award of benefits and payment of same for the period of July

            8, 2019, through October 24, 2019, shall be made upon remand upon

            submission of additional records by Plaintiff. (Doc. 62)

        3. Plaintiff submits that an award of attorney’s fees and costs is appropriate

            under 29 U.S.C. § 1132(g)(1) for the reasons set forth in the attached

            memorandum of law.

        WHERE FORE, Plaintiff respectfully requests that the Court enter an Order

        granting Plaintiff’s motion for attorney’s fees and costs.

Dated: April 29, 2024                     Respectfully submitted,

                                          SHERMAN, SILVERSTEIN, KOHL,
                                          ROSE & PODOLSKY, P.A.

                                   By:    /s/ Alan C. Milstein
                                          Alan C. Milstein
                                          308 Harper Drive, Suite 200
                                          Moorestown, NJ 08057
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                                    Facsimile: 856-661-2068
                                    Attorneys for Plaintiff




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